                  IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
                                                  )
v.                                                )      Criminal No. 3:03-00117
                                                  )      Judge Trauger
[2] LATRICIA R. RIDLEY                            )

                                         ORDER

       It is hereby ORDERED that a hearing shall be held on the Petition to Revoke

Supervision (Docket No. 241) on Wednesday, October 29, 2014, at 2:30 p.m.

       It is so ORDERED.

       ENTER this 23rd day of October 2014.



                                                  ________________________________
                                                        ALETA A. TRAUGER
                                                          U.S. District Judge




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